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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
In re:                           §
                                 § Case No. 22-33553 (CML)
ALEXANDER E. JONES               §
                                 § Chapter 11
         Debtor.                 §

In re:                                          §
                                                §     CASE NO. 22-60043 (CML)
FREE SPEECH SYSTEMS, LLC                        §
                                                §     (CHAPTER 11, SUBCHAPTER V)
              Debtor.                           §
                                                §

                        JONES’ WITNESS AND EXHIBIT LIST
 Main Case No: 22-33553                 Name of Debtor: Alexander E. Jones
 Adversary No:                          Style of Adversary:

 Witnesses:
 Robert Schleizer                                   Judge: Christopher M. Lopez
 Alexander E. Jones                                 Courtroom Deputy:
 Patrick Magill                                     Hearing Date: June 14, 2024
 Jeffrey Shulse                                     Hearing Time: 10:00 a.m. (CST)
 Any witness called by Connecticut Plaintiffs       Party’s Name: Alexander E. Jones
 to Support Conversion of FSS to Chapter 7
                                                    Attorney’s Name: Vickie L. Driver
                                                    Attorney’s Phone: 737-218-6187

 Jones may call or cross-examine any witness Nature of Proceeding:
 designated or called by any other party;    Emergency Motion of Connecticut Families
                                             for Order Converting the Debtor’s Chapter 11
 Any witness necessary for impeachment or Case to a Case Under Chapter 7 of the
 rebuttal, as necessary;                     Bankruptcy Code [FSS Docket No. 921];
 Any witness for the       authentication of Debtor’s Emergency Motion for Court
 documents; and                               Instructions Regarding (1) Disposition of
                                              Debtor’s Property, and (2) Clarity as to the
 Jones reserves the right to amend or Chief Restructuring Officer’s Responsibilities
 supplement this list as necessary, or in the and Authority, in the Event of Either a
 interests of justice.                        Dismissal of this Case or Conversion to
                                              Chapter 7 [FSS Docket No. 933];

                                                    Debtor’s Emergency Motion for Entry of an
                                                    Order Converting Debtor’s Chapter 11 Case
                                                    to a Case Under Chapter 7 of the Bankruptcy
                                                    Code [AJ Docket No. 684]
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                                            EXHIBITS

  Ex.                  Description             Offered Objection Admitted/Not Disposition
   #                                                              Admitted
 AJ-1     Company agreement for Free
          Speech Systems, LLC
 AJ-2     Order (A) Authorizing
          Employment of Patrick Magill as
          Chief Restructuring Officer, (B)
          Authorizing Employment of Staff
          of Magill, PC in Discharge of
          Duties as Chief Restructuring
          Officer, and (C) Granting Related
          Relief [FSS Docket No. 239]
 AJ-3     CRO Engagement letter for P.
          Magill
 AJ-4     Proposed order on A. Jones
          Conversion, redlined with UST
          comments included
 AJ-5     Proposed order on FSS dismissal
 AJ-6     FSS Hearing Transcript,
          November 27, 2023, pages 57-61
          and page 69
 AJ-7     FSS and A. Jones Joint Hearing
          Transcript, May 21, 2024, page 12
          Any document or pleading filed in
          the above-captioned cases;
          Any    exhibit  necessary   for
          impeachment    and/or   rebuttal
          purposes; and
          Any exhibit identified or offered
          by any other party.
        Jones reserves the right to supplement, amend or delete any exhibit prior to the Hearing.

Jones also reserves the right to use any exhibit presented by any other party and to ask the Court

to take judicial notice of any document. Jones finally reserves the right to introduce exhibits

previously admitted.



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Respectfully submitted this 12th day of June, 2024.


                                            CROWE & DUNLEVY, P.C.

                                            By: /s/ Vickie L. Driver
                                            Vickie L. Driver
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                                            Christina W. Stephenson
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                                            -and-
                                            Shelby A. Jordan
                                            State Bar No. 11016700
                                            S.D. No. 2195
                                            Antonio Ortiz
                                            State Bar No. 24074839
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                                            ATTORNEYS FOR ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing document was filed with the Court on June 12th,
2024, and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system.



                                                    /s/ Vickie L. Driver
                                                    Vickie L. Driver




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